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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )
                    Plaintiff,              )           CASE NO. 8:05CR393
                                            )
      vs.                                   )
                                            )                    ORDER
TINA SPEAKE,                                )
                                            )
                    Defendant.              )



      This matter is before the Court on the Unopposed Motion for Continuance of

Sentencing Schedule filed by the Defendant, Tina Speake (Filing No. 51).

      For good cause shown, the Motion shall be granted.

      IT IS ORDERED:

      1.     The Unopposed Motion for Continuance of Sentencing Schedule filed by

             the Defendant, Tina Speake (Filing No. 51) is granted;

      2.     Sentencing is rescheduled before District Judge Laurie Smith Camp on

             the 12th day of May, 2006, at the hour of 1:00 p.m. in Courtroom No. 2,

             Third Floor, Roman L. Hruska Courthouse, 111 S. 18 th Plaza, Omaha,

             Nebraska.

      Dated this 27rd day of March, 2006.

                                                BY THE COURT:

                                                s/Laurie Smith Camp
                                                United States District Judge
